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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                   No. 2:02-cr-0416 GEB JFM (HC)

12           vs.

13   DAWANE ARTHUR MALLETT,

14                  Movant.                       ORDER

15                                           /

16                  Movant is a federal prisoner proceeding pro se with a motion to vacate, set aside,

17   or correct his sentence pursuant to 28 U.S.C. § 2255. On December 16, 2008, respondent filed a

18   motion to withdraw its previously filed motion to dismiss and for an extention of time to file an

19   answer to movant’s § 2255 motion. Good cause appearing, IT IS HEREBY ORDERED that:

20                  1. Respondent’s December 16, 2008 motion is granted;

21                  2. Respondent’s June 16, 2008 motion to dismiss is withdrawn;

22                  3. Respondent’s answer to movant’s § 2255 motion shall be filed and served on

23   or before February 17, 2009; and

24   /////

25   /////

26   /////

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 1                      4. Movant’s traverse, if any, shall be filed and served not later than thirty days

 2   thereafter.

 3   DATED: December 19, 2008.

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